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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                               CASE NO. 1:17-CV-24284-COOKE/REID

   MICHAEL FOX,
   on behalf of himself and all
   others similarly situated,

                  Plaintiff,

          v.

   THE RITZ-CARLTON
   HOTEL COMPANY, LLC,

                  Defendant.


                       MEMORANDUM OF LAW IN SUPPORT OF
                  PLAINTIFF’S MOTION TO DISQUALIFY PETER VALORI

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                                          I.     INTRODUCTION
           After nearly five years of litigation, and shortly after Magistrate Judge Damian denied
   several motions filed by Defendant The Ritz-Carlton Hotel Company, LLC (“Ritz”), including a
   motion for summary judgment, Ritz retained Peter Valori, a co-founding partner of the firm
   Damian & Valori LLP. Judge Damian was “Of Counsel” at Damian & Valori for over nine years,
   working for the firm immediately before her appointment as a magistrate judge. Valori’s
   appearance in the case, entered four days before Ritz’s opposition to Plaintiff’s renewed motion
   for class certification was initially due, resulted in Judge Damian’s nearly immediate recusal.
   Valori does not appear to have expertise in class action cases or claims made under the Florida
   Deceptive and Unfair Trade Practices Act, Fla. Stat. Ann. 501.201 et seq. (“FDUTPA”), which
   forms the basis for Plaintiff’s claims. Valori does not appear to have ever represented Ritz before,
   either. Valori does not appear to add anything to Ritz’s defense team that another attorney, whose
   appearance would not result in Judge Damian’s recusal, could provide.
           The firm Kabat Chapman & Ozmer LLP (“KCO”) entered the case in September 2021.
   Apparently unsatisfied with Judge Damian’s rulings thus far, KCO and Ritz have engaged in
   conduct that amounts to a form of judge shopping by manufacturing Judge Damian’s recusal by
   retaining the co-founder of her former firm. Ritz’s manufactured recusal of a magistrate judge
   shortly after that judge denied multiple motions filed by Ritz is inappropriate. Most importantly,
   it disrupts the efficient resolution of this case, significantly burdens this Court’s judicial resources,
   and threatens to undermine public trust in the judicial process. These considerations outweigh
   Ritz’s right to retain Valori. Clearly, Valori must be disqualified from the case and Judge Damian
   should be reassigned back to the case in which she has already committed so much time and effort.
                                    II.        STATEMENT OF FACTS
           In November 2017, Plaintiff filed this lawsuit against Ritz alleging violations of FDUTPA
   in connection with automatic gratuities and/or service charges applied to customer checks without
   notice or with inadequate notice prior to the imposition of those charges. See Class Action
   Complaint, ECF 1. In response, Ritz filed a motion to dismiss. See ECF 16. Plaintiff filed an
   Amended Class Action Complaint (ECF 17) and Ritz again filed a motion to dismiss. ECF 22.
   This Court initially granted Defendant’s motion based on a sua sponte review of the record, finding
   the Court lacked subject matter jurisdiction. See ECF 31 at 4. Plaintiff successfully appealed to the
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   Eleventh Circuit, which reversed the Court’s decision with the exception of the dismissal of a
   claim related to the refund of Florida sales taxes. See ECF 39 at 22.
          On January 11, 2022, Magistrate Judge Melissa Damian was assigned as the magistrate in
   this case. ECF 122. The following day, the Court referred Plaintiff’s initial class certification
   motion, Plaintiff’s motion for partial summary judgment, as well as the above referenced motions
   filed by Defendant, to Judge Damian. ECF 123. On June 15, 2022, Judge Damian denied
   Defendant’s motion to exclude the declaration of Plaintiff’s counsel James Francis in support of
   his initial class certification motion. ECF 127. On July 12, 2022, Judge Damian denied
   Defendant’s motion to exclude the reply declaration of Plaintiff and Plaintiff’s deposition errata.
   ECF 131. On July 18, 2022, Judge Damian denied Defendant’s motion for sanctions. ECF 132.
   On August 11, 2022, Judge Damian filed a Report and Recommendation granting the portion of
   Defendant’s summary judgment motion regarding Plaintiff’s per se FDUTPA claims, but
   otherwise denying the motion. ECF 137. On August 17, 2022, Chief Judge Altonaga issued a sua
   sponte Order setting a deadline for the parties to file objections to Judge Damian’s Orders and
   Reports. ECF 138. This Order also denied without prejudice Plaintiff’s initial motion for class
   certification as premature, stating a new deadline for filing a renewed motion for class certification
   would issue after objections to all outstanding motions were resolved. ECF 138.
          Defendant filed objections to Judge Damian’s denials of its motions to exclude Plaintiff’s
   reply declaration and deposition errata (ECF 139), and for sanctions (ECF 140), as well as Judge
   Damian’s Report and Recommendation largely denying its motion for summary judgment (ECF
   141). On September 26, 2022, the Court rejected each of Defendant’s objections, affirming and
   adopting Judge Damian’s Orders and the Report and Recommendation regarding summary
   judgment. ECF 150, 151, 152.
          Notwithstanding Chief Judge Altonaga’s Order regarding a renewed motion for class
   certification, on October 10, 2022, Defendant filed a motion requesting that the Court rule on class
   certification based on the parties initial briefing, which had been denied as premature. See ECF
   155. On October 11, 2022, the Court denied that motion and set forth deadlines for renewed class
   certification briefing, with Plaintiff’s renewed motion for class certification to be filed on or before
   twenty (20) days from the date of the Order, Defendant’s response due within twenty (20) days of
   the filing of Plaintiff’s motion, and Plaintiff’s reply to be filed within fourteen (14) days of
   Defendant’s response. ECF 156.



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          On October 31, 2022, Plaintiff timely filed his Renewed Motion for Class Certification
   (“Renewed Class Cert Motion”). ECF 158. On November 2, 2022, Judge Damian scheduled a
   hearing on Plaintiff’s Renewed Class Cert Motion for December 20, 2022. ECF 159. On November
   16, 2022, five days before its response to Plaintiff’s Renewed Class Cert Motion was due, counsel
   for Defendant from KCO contacted Plaintiff requesting, “as a professional courtesy,” a seven-day
   extension of Ritz’s time to file its opposition. See Ex. A to Declaration of James Francis (“Francis
   Decl.”) at 1. Counsel for Plaintiff responded later that afternoon stating “we are concerned about
   whether the Court will have sufficient time to review the briefing prior to the hearing” scheduled
   by Judge Damian for December 20. See id. at 2. Notwithstanding that concern, counsel for Plaintiff
   stated they were not opposed to Defendant’s request for enlargement of time, “but would like to
   see the motion first.” See id.
          Later, on the evening of November 16, 2022, counsel from KCO sent a draft of Defendant’s
   motion for an extension of the deadline to file Defendant’s opposition to Plaintiff’s Renewed Class
   Cert Motion. See id. at 4. That draft motion included a signature block featuring only the names
   of KCO counsel, and with minor edits, Plaintiff’s counsel approved the motion for extension. See
   Ex B. to Francis Decl. at 2.
          On November 17, 2022, a Notice of Appearance was filed by Peter Valori of the law firm
   Damian & Valori LLP, to appear on behalf of Defendant. ECF 163. Valori is the co-founder and
   managing partner of the firm, focusing his practice on “complex corporate, contract, real estate,
   employment, professional negligence, and trademark litigation.” 1 Valori’s firm profile also states
   he has “significant experience with breach of fiduciary, fraud and professional liability cases.” See
   id. A search conducted by Plaintiff does not reveal any significant history that Valori has relating
   to class action cases or cases involving FDUTPA claims. See Francis Decl. at ¶ 5. A profile page
   for Magistrate Judge Melissa Damian on the website LinkedIn states that prior to her appointment
   as a magistrate judge, she was “Of Counsel” at Damian & Valori LLP for over 9 years. 2
          On the evening of November 17, 2022, immediately after Valori entered his appearance in
   the case, Defendant filed its motion requesting an extension of time to file its opposition to
   Plaintiff’s Renewed Class Cert Motion. ECF 164. The motion was signed by Valori, rather than
   the attorneys for KCO whose names appeared on the draft provided to Plaintiff for approval. Id. at

   1
          https://dvllp.com/attorneys-2/peter-f-valori/
   2
          https://www.linkedin.com/in/mdvisconti/


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   2. On the morning of November 18, 2022, Judge Damian recused herself from the case, which the
   Clerk of the Court reassigned to Magistrate Judge Lisette Reid. ECF 165. Later that day, the Court
   granted Defendant’s unopposed motion for an extension to file its response to Plaintiff’s Renewed
   Class Cert Motion (ECF 166) and referred that motion to Judge Reid (ECF 167).
                                          III.    ARGUMENT
           A. Legal Authority
           A magistrate judge must disqualify herself from consideration of a case in any proceeding
   in which her impartiality might reasonably be questioned. 28 U.S.C. § 455(a). While a party has a
   right to be represented by counsel, ordinarily implying a right to a lawyer of its choice, such a right
   does not “entail absolute freedom of choice.” McCuin v. Texas Power & Light Co., 714 F.2d 1255,
   1262 (5th Cir. 1983). District judges have broad discretion to determine the attorneys that practice
   before them and to monitor the conduct of those who do. See Robinson v. Boeing Co., 79 F.3d
   1053, 1055 (11th Cir. 1996) (citing United States v. Dinitz, 538 F.2d 1214, 1219 (5th Cir. 1976)).
   The disqualification of a judge “implicates several factors informing the judge’s discretion, like
   judicial time spent, the court’s docket, and the potential for manipulation.” Id. In fact, a delay in
   proceedings “for any reason is sufficient” to bring the rejection of additional counsel within the
   court’s discretion. Id.
           Disqualification of counsel is an extreme remedy that is not imposed lightly, however, the
   “right to counsel of one’s choice may be overridden when ‘compelling reasons exist.’” McCuin,
   714 F.2d at 1263. This right “should be balanced in cases in which it is challenged against the right
   to ‘untainted prosecution of the lawsuit’ and society’s need to maintain the highest ethical
   standards of professional responsibility,” as well as “the needs of effective administration of
   justice.” Id. The Eleventh Circuit has affirmed a trial court’s finding that “a sham hiring for the
   purpose of forcing the judge’s recusal is a sufficiently compelling reason.” In re BellSouth Corp.,
   334 F.3d 941, 946 (11th Cir. 2003).
           It is well settled that attorneys are not permitted to enter a case to manipulate the orderly
   administration of justice by forcing a judge’s recusal, and that such attorneys should be
   disqualified. See McCuin, 714 F.2d at 1264; In re BellSouth, 334 F.3d at 946. The Second Circuit
   explained the reasoning for this position stating, “tactical abuse becomes possible if a lawyer’s
   appearance can influence the recusal of a judge.” In re F.C.C., 208 F.3d 137, 139 (2nd Cir. 2000).
   The Eleventh Circuit has stated that although there is limited case law on this issue, “it has been



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   said that ‘attempts to manipulate the random case assignment process are subject to universal
   condemnation,’ and that “litigants and lawyers also have a duty to disavow and avoid
   manipulations of the random assignment system.” 3 In re BellSouth, 334 F.3d at 958 (quoting
   United States v. Phillips, 59 F. Supp. 2d 1178, 1180 (D.Utah 1999)).
          The Eleventh Circuit has developed a list of factors to evaluate attorney disqualification
   when a new appearance results in judicial recusal including a party’s right to counsel, the court’s
   docket, injury to the opposing party, the delay caused in the proceedings, the judicial time invested,
   the expense that will be caused to the objecting party, and the potential for manipulation of the
   judicial process. See Robinson, 79 F.3d at 1055. The “most significant factor” of these being
   whether the appearance results in possible “manipulation of the random assignment system.” In re
   BellSouth, 334 F.3d at 962.
          Importantly, the weight of authority in this and other circuit courts holds that a showing of
   bad faith is not required to disqualify counsel whose appearance results in the recusal of a judge.
   See Robinson, 79 F.3d at 1054 (disqualification not based on motive but on age of the pending
   action); In re F.C.C., 208 F.3d at 139 (sua sponte order directing counsel whose appearance caused
   recusal of appellate judge to withdraw its appearance, despite “no finding as to good faith or intent”
   on the part of the disqualified law firm); In re RFC and Rescap Liquidating Trust Lit., 2016 WL
   7177706, at *6 (D. Minn., Dec. 8, 2016) (opposing party need not prove intent to engage in judge-
   shopping to disqualify counsel causing recusal); UCP International Company Limited v. Balsam
   Brands Inc., 261 F. Supp. 3d 1056, 1059 (N.D. Cal. 2017) (applying the Eleventh Circuit’s
   objective test to avoid attorney-client privilege issues with determining motive, prevent even the
   appearance of manipulation, and to avoid the waste of judicial resources).
          Courts recognize “no amount of scrutiny would ever yield ‘a confession’ or a ‘smoking
   gun’ indicating that a particular firm was hired with the intent of forcing the judge to relinquish
   the case.” In re BellSouth, 334 F.3d at 944 (discussing Robinson). The party causing a judge’s
   recusal can always put forth seemingly plausible reasons to retain new counsel, resulting in the
   “practical impossibility of proving a party’s true motive.” In re RFC, 2016 WL 7177706, at *6



   3
           This issue also raises ethical considerations, as the Eleventh Circuit noted when it cited the
   Supreme Court of Michigan stating, “A lawyer who joins a case as co-counsel, and whose principal
   activity on the case is to provide the recusal, is certainly subject to discipline.” In re BellSouth,
   334 F.3d at 958 (quoting Grievance Adm’r v. Fried, 456 Mich. 234, 570 N.W.2d 262, 267 (1997)).


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   (quoting In re BellSouth, 334 F.3d at 947). The appearance of judge shopping, even without proof
   of ill intent, warrants disqualification so that litigants and the public can trust the random
   assignment of judges will not be manipulated with manufactured recusals. Id.
          In fact, the age of the pending action when a counsel’s appearance causes a judicial recusal,
   alone, can override a party’s choice of counsel. See Robinson, 79 F.3d at 1054-55 (disqualification
   of counsel ordered because case had been pending for 15 months when conflicting attorney
   appeared). Similarly, even the possibility of tactical abuse of the judicial system, is sufficient, by
   itself, to override a party’s choice of counsel. See In re F.C.C., 208 F.3d at 139. As the Eleventh
   Circuit has stated, a party’s choice of counsel cannot override the need to protect against the
   appearance that a party is manipulating the court’s random assignment system. See In re BellSouth,
   334 F.3d at 956. Where the objective factors weigh in favor of disqualification, the party resisting
   disqualification must show an “overriding need” for that counsel, “rather than just convenience, a
   need that would reflect upon the litigant’s ability to have its case fairly presented, rising to
   constitutional due process concerns,” in order to “trump both time delay and the loss of prior
   judicial activity.” Robinson, 79 F.3d at 1056.
          B. Valori Should Be Disqualified as Counsel in this Case
          Based on binding Eleventh Circuit precedent, as well as case law in other circuits across
   the country, courts use objective factors to decide the issue of disqualification of counsel, including
   a party’s right to counsel, the court’s docket, the injury to the opposing party, the delay caused in
   the proceedings, the judicial time invested, the expense that will be caused to the objecting party,
   and the potential for manipulation of the judicial system through the appearance of “judge
   shopping.” See In re BellSouth, 334 F.3d at 944. Each of these factors weighs heavily in favor of
   disqualifying Valori.
                  1. There is No Overriding Need for Valori to Appear in this Case
          The Eleventh Circuit requires a party adding counsel late in a litigation, as is the case here,
   to show an overriding need to retain that particular law firm if the appearance results in a judge’s
   recusal. See Robinson, 79 F.3d at 1055; In re BellSouth, 334 F.3d at 944. Since September 2021,
   when Holland & Knight was replaced as Ritz’s counsel, KCO has represented Defendant. Ryan
   Watstein, Ritz’s lead counsel, is the partner in charge of his firm’s commercial litigation and
   consumer class action defense team, claiming that he has defended companies in more than 100




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   national class actions. 4 In fact, Watstein’s law firm profile states that in the hundred-plus class
   action cases he has defended, no class has been certified, “for settlement purposes or otherwise.”
   See id. Ritz is also represented by two other KCO attorneys, Alex Terepka and Abigail Howd,
   whose practices focus on defense of consumer class actions. 5
           In contrast, there is no mention of consumer class action or FDUTPA claim experience on
   Valori’s attorney profile page for his law firm. 6 Damian & Valori LLP’s website does not list
   consumer class action defense among the services offered by the firm. 7 Additionally, Valori does
   not appear to have ever represented Ritz before. See Francis Decl. at ¶ 5. It appears only one
   attorney profile on Damian & Valori’s website includes “class actions” among the practice areas
   that the attorney focuses on. 8 Another partner and the firm’s co-founder, Melanie Damian, whose
   practice largely involves serving as a court appointed Receiver and as counsel to court appointed
   Receivers, states on her attorney profile page for the law firm that she has been a court-appointed
   class counsel in several cases. 9
           Valori does not appear to have unique expertise in the area of class actions or FDUTPA
   cases. Even if he has class action experience, that would still not show an overriding need for his
   appearance. Ritz has been represented by KCO since September of 2021, through motion practice
   of critical import in the litigation, including the initial motion for class certification and Ritz’s
   motion for summary judgment. It was not until little over a week ago, 5 years into the litigation,
   and in the midst of briefing on Plaintiff’s Renewed Class Cert Motion that was referred to Judge
   Damian, that Valori was added to Ritz’s legal team. There is nothing that suggests Valori brings
   specialized expertise to this case, especially this late in the litigation where the only issue to be
   decided before preparing for trial is Plaintiff’s Renewed Class Cert Motion.
           Certainly, the KCO attorneys with extensive class action defense experience, including
   Watstein who has apparently never had a class certified in a case he defended against, are able to


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           https://www.kcozlaw.com/ryan-d-watstein/
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           https://www.kcozlaw.com/alexander_d_terepka/; https://www.kcozlaw.com/abigail-
   howd/
   6
           https://dvllp.com/attorneys-2/peter-f-valori/
   7
           https://dvllp.com/business-litigation/
   8
           https://dvllp.com/attorneys-2/russell-landy/
   9
           https://dvllp.com/attorneys-2/melanie-e-damian/


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   handle Ritz’s opposition to Plaintiff’s Renewed Class Cert Motion. However, to the extent Ritz
   requires additional counsel, there is no lack of excellent firms in Miami who can be added to Ritz’s
   legal team without causing Judge Damian to recuse herself from the case at this very late stage.
   Further, Valori has entered his appearance as co-counsel, not lead counsel, and has not actively
   participated in the case other than appending his signature to an unopposed motion for an extension
   of time and a motion to extend the parties’ page limits for Plaintiff’s Renewed Class Cert
   briefing. 10 See ECF 163, 164. In fact, during the parties’ written meet and confer exchanges and
   during the parties’ November 28, 2022 meet and confer by telephone, Defendant did not identify
   a reason for Valori entering an appearance in the case. See Francis Decl. at ¶ 6.
           Valori does not add anything to Ritz’s defense that could not be handled by its current
   attorneys at KCO, or by other counsel that would not result in Judge Damian’s recusal. Plaintiff
   has no doubt Valori is a capable attorney, but he is certainly not indispensable to Ritz’s defense in
   this case and at this time. If he were, Ritz would not have waited nearly five years to retain him,
   near the end of the litigation.
                   2. The Timing of           Valori’s     Late    Appearance       Strongly    Favors
                      Disqualification
           The timing of an appearance by an additional counsel is heavily scrutinized by the Eleventh
   Circuit when it results in the recusal of a judge. Courts carefully guard against the possibility that
   a party is adding counsel to cause the judge’s recusal, especially after finding itself unhappy with
   that judge’s rulings. In Robinson v. Boeing, the district court refused to allow the addition of a new
   law firm to represent a party in the case where that appearance would have resulted in the judge’s
   recusal. 79 F.3d at 1054.
           The court in Robinson determined that the timing of the attorney’s appearance, which was
   15 months into the litigation, was enough to disqualify the attorney, without the need to prove
   motive. Id. Mindful of the likelihood that no amount of scrutiny or discovery would “likely result
   in a confession or ‘smoking gun’” showing that the newly appearing attorney was hired with the
   intent to force the judge’s recusal, the Eleventh Circuit affirmed the District Court’s conclusion
   that disqualification of counsel was warranted due to the late stage of the litigation. Id. at 1055. As
   the court stated in Robinson, “[w]hen there has been a passage of fifteen months, the problem is

   10
          Notably, as discussed below in section III(B)(6), Plaintiff requested to see Ritz’s motion
   for an extension prior to agreeing to not oppose the requested relief. Ritz provided Plaintiff a
   motion signed by Watstein of KCO, but subsequently filed the motion bearing Valori’s signature.


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   exacerbated. When there has been such a passage of time, the burden to establish the right” for a
   firm that would cause a judge’s recusal to join the litigation is greater. Id.
          The Eleventh Circuit stated that a party’s “midstream change of counsel” gives rise to a
   greater cause for suspicion than a party’s initial decision in hiring counsel to avoid allowing a party
   to “‘test the waters’ with a judge and, having found preliminary rulings not to its liking, stage a
   conflict so as to try its luck with a replacement judge.” In re BellSouth, 334 F.3d at 961. The
   Eleventh Circuit’s reasoning for such scrutiny is on display in this case. Following a series of
   motions filed by Ritz that were decided largely in Plaintiff’s favor by Judge Damian (and which
   were later affirmed and adopted by the District Court following Ritz’s objections), it certainly
   appears that Ritz retained Valori in an attempt to manipulate which magistrate judge will issue a
   Report and Recommendation on Plaintiff’s Renewed Class Cert Motion. The fact that Ritz, now,
   retained Valori, after years of litigation and shortly after receiving multiple unfavorable rulings
   from Judge Damian, is great cause for suspicion and should lead to Valori’s disqualification from
   the case.
          Whether Ritz acted with ill intent or bad motive or not does not alter the fact that Valori’s
   appearance at this late stage of the litigation, together with Judge Damian’s immediate recusal,
   requires heightened scrutiny. If allowed to proceed, it will reward Ritz for successfully
   manipulating the magistrate assigned to the case and will foster mistrust of the judicial system.
                  3. Ritz Will Not Be Prejudiced by Valori’s Disqualification
          There is no prejudice to Ritz if Valori is disqualified from the case. Ritz will continue to
   be represented by the attorneys at KCO, who have been involved with the case since September
   2021. Ritz relied on the KCO attorneys to engage in significant motion practice in that time,
   including Plaintiff’s initial motion for class certification and dispositive summary judgment
   motions. It was not until Judge Damian made several determinations against Ritz, which were
   affirmed and adopted by the District Court, and days before its initial deadline to file opposition
   to Plaintiff’s Renewed Class Cert Motion, that Ritz retained Valori.
          It is not credible for Ritz to claim it will be prejudiced by the disqualification of an attorney
   who entered his appearance in the case little more than a week ago. It is also difficult for Ritz to
   argue prejudice as it was fully aware that Judge Damian was the assigned magistrate in the case
   for the past ten months and had been referred Plaintiff’s already filed Renewed Motion for Class




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   Certification when it retained Valori, the co-founding partner of the firm where Judge Damian was
   of counsel for more than nine years immediately prior to becoming a magistrate.
           Any claim of prejudice by Ritz, who retained Valori at this late stage of the litigation when
   it knew his appearance would result in Judge Damian’s recusal, should be afforded little
   consideration when balanced against the prejudice to Fox, who has done nothing to cause delay to
   the proceedings. See In re BellSouth, 334 F.3d at 947-48. In BellSouth, the District Court found
   that BellSouth’s knowledge that its retention of the disqualifying attorney would result in the
   judge’s recusal put it on notice that hiring the attorney “would subject it to court scrutiny,” and
   pointed towards manipulation and disqualification of the attorney and his firm, despite alleged
   prejudice to BellSouth and minimal prejudice to the plaintiff. Id.
           In fact, Ritz can only credibly claim prejudice in this situation if it retained Valori with the
   intent to manufacture the recusal of Judge Damian. Otherwise, there is no harm to Ritz in having
   KCO continue to represent it, or to choose a capable attorney with class action defense experience
   that would not result in Judge Damian’s recusal. As the District Court in Robinson stated, “[i]f the
   issue is truly not one of ‘judge shopping,’” disqualifying the attorney who manufactured the
   recusal of a judge will not adversely affect the party that retained them. 79 F.3d at 1055.
                   4. Fox Will Be Prejudiced if Valori is Not Disqualified
           The delay that will necessarily be caused by Valori’s appearance in the case, and Judge
   Damian’s recusal as a result, merits the disqualification of Valori and his firm at this late stage of
   the litigation. See id. (delay for any reason is sufficient to bring the case within the exercise of a
   court’s discretion to disqualify counsel). Judge Damian has been involved in the case for ten
   months and gained considerable knowledge of the factual background of the case, the parties’
   positions, and the relevant issues to be decided. Judge Damian scheduled a hearing on Plaintiff’s
   Renewed Class Cert Motion to take place just two weeks after briefing was initially scheduled to
   be completed. ECF 159, 162. Though that timeframe may have been altered by the Court’s granting
   of Ritz’s request for an extension of time to file its opposition, it is not unfathomable that the newly
   assigned magistrate may require additional time to familiarize herself with the case and consider
   the motion papers.
          Valori’s appearance will, therefore, result in a delay to the resolution of Plaintiff’s Class
   Cert Motion and the litigation. Plaintiff has devoted substantial time and financial resources in the
   case. Valori’s late appearance in the case, manufacturing Judge Damian’s recusal, has already



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   caused additional unnecessary expense to Plaintiff, as evidenced by the need to file this motion.
   The most efficient path to resolving this case is to disqualify Valori, reassign Judge Damian to the
   case, and allow Judge Damian to issue a Report and Recommendation on Plaintiff’s Renewed
   Class Cert Motion. Anything less prejudices Plaintiff.
                   5. Valori’s Appearance Results in a Significant Waste of Judicial Resources
           The Eleventh Circuit has also found that, when deciding disqualification after recusal, a
   relevant consideration is the reality that “[j]udicial resources in this country are limited.” Robinson,
   79 F.3d at 1055. It is incumbent on lawyers as officers of the court, as well as judges, to guard
   against the useless expenditure of judicial time, which comes at the public’s expense. Id.
           Effective case management requires that judges are familiar with the cases on their docket,
   and that they use their understanding of the case to manage it to conclusion. Allowing late
   appearances that result in the recusal of the presiding judge undermines effective judicial
   administration and threatens litigation fairness. As the Fifth Circuit explained:
                   If a party who is offended by a judge’s ruling could disqualify the judge by
                   employing new counsel after the case had been pending before that judge
                   for years, he could force on other litigants and the courts the penalty of
                   starting over before a new judge. Both effective judicial administration and
                   economy of litigation costs require that a case be assigned as soon as
                   possible after it is filed to a single judge who will become fully familiar
                   with the issues and exercise effective control over the pleadings, discovery,
                   pretrial, and trial. . . . If, after seeing who the judge is or weighing his rulings
                   for a period of years, a litigant could in effect veto the allotment and obtain
                   a new judge by the expedient of finding one of the judge’s relatives who is
                   willing to act as counsel, it would become possible for any party to disrupt
                   [the final resolution of the case].
   McCuin, 714 F.2d at 1263-64.
           Eleventh Circuit precedent also requires consideration of the impact on the Court’s docket
   in ruling on a request to disqualify an attorney whose appearance results in judicial recusal. See In
   re BellSouth, 334 F.3d at 948. Case management issues generally do not lend themselves to
   specific factual arguments, but rather are left to the court to consider in light of what it knows
   about the amount of time a judge might have spent in ruling on already decided matters, and on
   the condition of crowded dockets and priorities on other judge’s calendars. But there can be no
   serious question that Judge Damian has expended substantial effort in digesting the hundreds of
   pages of briefing and exhibits presented in the six motions she has already ruled upon in this matter,
   and in writing six detailed decisions totaling 96 pages. Many of the same factual and legal issues


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   are presented in Plaintiff’s Renewed Class Cert Motion. If Valori’s late appearance is permitted to
   stand, it will require significant duplicative judicial efforts by Judge Reid to come up to speed on
   the prior proceedings, to which Judge Damian has already devoted substantial time at public
   expense.
           All judges in this district are busy and judicial resources scarce. While Plaintiff has no
   doubt that any judge in this district is fully capable of ruling on Plaintiff’s Renewed Class Cert
   Motion and supervising this case through pretrial proceedings, the impact on Judge Reid’s docket
   and investment of her time to learn this case is not needed given Judge Damian’s substantial
   knowledge of this matter.
                   6. Valori’s Appearance Will Contribute to Mistrust of the Judicial System
           A court’s inherent power to disqualify an attorney is rooted in concern for the integrity of
   the judiciary and the public’s perception thereof. See In re BellSouth, 334 F.3d at 959-60. The facts
   of this case raise real concerns about the integrity of the judicial process. Ritz’s retention of Valori
   leaves the appearance of “judge shopping” and it can only foster mistrust of our judicial system.
           The Fifth Circuit considered the detrimental effect on the judicial system caused by mid-
   case appearances that result in judicial recusal in McCuin. 714 F.2d at 1265. There, the Court
   sternly warned it would not allow mid-case appearances when the facts even suggest that counsel
   was retained for the purpose of recusing a judge. Id. The McCuin Court noted that litigants have
   the right to hire lawyers of their choice, but that right must be overridden when counsel appears to
   have been selected for the purpose of disqualifying the judge. Id. The Fifth Circuit was concerned
   that any other rule would “contribute to skepticism about and mistrust of our judicial system.” Id.
           The Eleventh Circuit relied on the same reasoning in Robinson and In re BellSouth,
   recognizing that gamesmanship and manipulation of a purportedly neutral process of case
   assignment “is disruptive of the orderly administration of justice[.]” In re BellSouth, 334 F.3d at
   959-60 (citing McCuin and Robinson).
           The need to avoid even the appearance of impropriety requires disqualification, and the
   Court need not find that Ritz actually engaged in “judge picking” or acted in bad faith to order
   Valeri disqualified. In re FCC, 208 F.3d at 139. There can be no serious question that Ritz knew
   or should have known that Judge Damian would recuse herself when it engaged the co-founder of
   the firm to which she was of counsel before joining the bench, which raises the strong inference
   that Ritz is intentionally seeking to disqualify Judge Damian after she repeatedly ruled against



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   them. On these facts, courts have insisted that new counsel be disqualified so the judge can remain
   presiding over the case. As the Second Circuit put it:
                   [T]actical abuse becomes possible if a lawyer’s appearance can influence
                   the recusal of a judge known to be on a panel. Litigants might retain new
                   counsel for rehearing for the very purpose of disqualifying a judge who
                   ruled against them. As between a judge already assigned to a panel, and
                   a lawyer who thereafter appears in circumstances where the
                   appearance might cause an assigned judge to be recused, the lawyer
                   will go and the judge will stay. This practice preserves the neutral and
                   random assignment of judges to cases, and it implements the inherent power
                   of this Court to manage and control its docket.
   208 F.3d at 139 (emphasis added).
           In highly similar circumstances where a party engaged the judge’s former law partner
   immediately after receiving an adverse decision, the Second Circuit disqualified the new firm,
   finding that it “could not have escaped [the newly added firm’s] attention” that its appearance
   would lead to recusal. Id. The same is true here – it cannot have escaped Ritz’s attention that its
   new counsel practices at a firm sharing the judge’s name and would likely lead to her recusal. As
   between Judge Damian, who has expended substantial public resources in becoming familiar with
   the detailed record and complex legal issues presented in this matter, and Valori who has been
   counsel of record for a week and lacks relevant experience, Valori must go and Judge Damian
   must stay. 11
           In this case, the behavior of Ritz counsel, KCO, immediately prior to Valori entering his
   appearance further suggests that this was done with the explicit purpose of manufacturing Judge
   Damian’s recusal. Counsel for Ritz informed Plaintiff it would be requesting an extension of time
   to file its opposition to Plaintiff’s Renewed Class Cert Motion. See Ex. A at 1. Plaintiff requested
   to see Ritz’s motion for an extension prior to agreeing to not oppose the requested relief. Id. at 2.
   When Ritz provided Plaintiff the motion, it featured the signature block of Watstein from KCO.
   See Ex. B at 2. However, following the filing of Valori’s notice of appearance in the case, the


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           Although this matter has already been reassigned to Judge Reid, the typical practice when
   a court disqualifies counsel whose late appearance caused a recusal is to return the case to the
   docket of the previous judge. See Hunters Run Apts. Ltd. v. WCA Waste Corp., No. 1:15–cv–
   00151–MP–GRJ, 2016 WL 9086970, at *4 (N.D. Ala. Apr. 25, 2016) (disqualifying newly entered
   firm in similar circumstances and referring case back to original judge); UCP Int’l Co. Ltd. et al
   v. Balsam Brands Inc. et al, No. 3:16-cv-07255 (N.D. Cal.) at ECF 106 (referring case back to
   original judge on same date as new counsel was disqualified).


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   motion that was filed bore Valori’s signature. See ECF 164 at 2. While proof of intent is
   unnecessary here, the bait-and-switch by Ritz suggests it did not want to tip Plaintiff off to the
   manufactured recusal that was coming.
          Cases should be decided to conclusion by the assigned judge, unless there is a legitimate
   reason to change judges. No party should be allowed to manufacture a judicial recusal to avoid
   further decisions by a judge who has previously made adverse rulings, or to delay judicial
   proceedings. Whether or not that was Ritz’s intent in this case, the appearance of Ritz retaining
   Valori only after Judge Damian issued multiple decisions adverse to Ritz, which Ritz was
   unsuccessful in overturning before Judge Cooke, gives the plain appearance of judicial
   manipulation. If Valori is not disqualified, the Court will be signaling to losing litigants that they
   can live to fight another day if they hire the judge’s prior firm to effectuate a recusal. The
   skepticism generated by Ritz’s late addition of Valori outweighs the benefit of Valori’s continued
   participation in this case where Judge Damian is well-versed in the central issues in the case and
   poised to decide class certification issues based on the same facts and claims.
          The Court should rule that disqualification of counsel on these facts is more than justified
   because “[t]o permit a litigant to blackball a judge merely by invoking a talismanic ‘right to counsel
   of my choice’ would contribute to skepticism about and mistrust of our judicial system.” McCuin,
   714 F.2d at 1265. In short, Valori must be disqualified and the case returned to Judge Damian’s
   docket so litigants and the public can have faith that the random assignment of judges cannot be
   manipulated with manufactured recusals.
                                          IV. CONCLUSION
          For the foregoing reasons, Plaintiff respectfully requests that this Court grant Plaintiff’s
   motion to disqualify Peter Valori from the case, reassign Magistrate Judge Damian to the case and
   any further relief the Court deems appropriate.



                                     RULE 7.1 CERTIFICATION
          Pursuant to Local Rule 7.1(a)(3), I certify that Plaintiff’s counsel conferred with
   Defendant’s counsel in a good faith effort to resolve the issues raised in the motion and has been
   unable to do so.
          On November 22, 2022, Plaintiff informed Defendant, by email, of his intention to file this
   motion and offered to meet and confer to discuss. Defendant responded by email stating there was


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   no basis for the motion, but Defendant would like to meet and confer on it. Defense counsel never
   asserted any reason for adding Valori so late to the litigation. Plaintiff responded by email on
   November 23, 2022, seeking to schedule a time to meet and confer on Friday, November 25. Later
   on November 23, 2022, Defendant declined to propose any times to meet and confer on Friday,
   and responded instead that Mr. Valori would be joining the parties’ meet and confer and proposed
   2:00pm or 4:00pm on Monday, November 28, 2022, for the parties to confer. Plaintiff confirmed
   2:00pm for the parties to meet and confer by telephone. During the parties’ meet and confer call
   on November 28, 2022, counsel for Defendant repeated its view that the instant motion had no
   basis, and that it was highly unlikely Defendant would consent to Plaintiff’s requested relief to
   disqualify Valori and reassign the case to Judge Damian. During the phone call, Valori never
   spoke, and defense counsel never offered any reason, compelling or otherwise, why Valori was
   added to the case. Defense counsel stated they would be having a call with Defendant following
   the parties’ meet and confer to discuss and that counsel thinks Defendant would oppose the motion.
   Plaintiff gave defense counsel until 5:00pm to discuss with Defendant and respond before moving
   forward with filing. Defendant did not respond to Plaintiff.
          Plaintiff feels it is appropriate to file the motion at this time to put this important issue
   before the Court and attempt to avoid unnecessary delays in the case, to the extent possible,
   resulting from Judge Damian’s recusal. If, after filing, Defendant responds that it agrees to any or
   all of Plaintiff’s requested relief, Plaintiff will notify the Court and withdraw the portions of the
   motion that are resolved through Defendant’s agreement. No other parties or non-parties will be
   affected by the relief sought in this motion.




                                                           Respectfully submitted,

      Dated: November 28, 2022                             s/ David M. Marco
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                                  CERTIFICATE OF SERVICE
          I HEREBY CERTIFY that on November 28, 2022, I electronically filed the foregoing
   document with the Clerk of Court using CM/ECF. I also certify that the foregoing document is
   being served this day on all counsel of record via CM/ECF.


                                                      /s/ David M. Marco
                                                      David M. Marco




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